                   UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Rebecca A Corradetti
     Eugene A Corradetti, III

                                                           Case No.: 4-20-00424 MJC

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  PNC
 Court Claim Number:             25
 Last Four of Loan Number:       0654
 Property Address if applicable: 1936 Park Forest Dr

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $25,865.29
 b.      Prepetition arrearages paid by the trustee:                        $25,865.29
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $0.00
 f.       Postpetition arrearage paid by the trustee:                       $0.00
 g.       Total b, d, and f:                                                $25,865.29

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: March 25, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Rebecca A Corradetti
    Eugene A Corradetti, III

                                                           Case No.: 4-20-00424 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on March 25, 2025, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 James McClure, Esquire
 BMZ Law
 113 Fourth St
 Huntingdon, PA 16652


 Served by First Class Mail
 PNC NA
 Att: Bankruptcy
 3232 Newmark Dr
 Miamisburg OH 45342
 Rebecca A Corradetti
 Eugene A Corradetti, III
 1936 Park Forest Ave
 State College PA 16803


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: March 25, 2025                                  /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                                Disbursements for Claim
Case: 20-00424            REBECCA A. CORRADETTI
          PNC BANK
                                                                                    Sequence: 24
          ATTN: BANKRUPTCY DEPT
                                                                                       Modify:
          3232 NEWMARK DRIVE
                                                                                   Filed Date:
          MIAMISBURG, OH 45342-
                                                                                   Hold Code:
 Acct No: Park Forest Ave - PRE-ARREARS - 0654
          ARREARS - 1936 PARK FOREST AVE


                                                  Debt:        $25,865.29       Interest Paid:              $0.00
        Amt Sched:                $195,296.00                                     Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:       $25,865.29        Balance Due:                $0.00

Claim name                               Type      Date         Check #      Principal    Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        PNC BANK
520-0 PNC BANK                                   02/19/2025      2045059      $104.83       $0.00     $104.83


520-0 PNC BANK                                   11/19/2024      2042220      $830.53       $0.00     $830.53 12/04/2024


520-0 PNC BANK                                   10/23/2024      2041254      $830.53       $0.00     $830.53 11/01/2024


520-0 PNC BANK                                   09/17/2024      2040258    $1,661.07       $0.00   $1,661.07 09/27/2024


520-0 PNC BANK                                   07/10/2024      2038359      $830.53       $0.00     $830.53 07/23/2024


520-0 PNC BANK                                   06/18/2024      2037537      $830.53       $0.00     $830.53 07/03/2024


520-0 PNC BANK                                   05/22/2024      2036635      $830.54       $0.00     $830.54 06/04/2024


520-0 PNC BANK                                   04/17/2024      2035630    $3,322.13       $0.00   $3,322.13 04/30/2024


520-0 PNC BANK                                   02/14/2024      2033708      $830.53       $0.00     $830.53 02/27/2024


520-0 PNC BANK                                   12/19/2023      2031886    $1,661.07       $0.00   $1,661.07 01/18/2024


520-0 PNC BANK                                   10/18/2023      2029981      $873.86       $0.00     $873.86 11/03/2023


520-0 PNC BANK                                   08/09/2023      2027982      $873.86       $0.00     $873.86 08/21/2023


520-0 PNC BANK                                   07/11/2023      2026994      $873.86       $0.00     $873.86 07/24/2023


520-0 PNC BANK                                   06/13/2023      2026076      $839.56       $0.00     $839.56 06/29/2023



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Claim name                       Type     Date           Check #      Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
520-0 PNC BANK                          05/16/2023       2025139       $839.56      $0.00     $839.56 05/26/2023


520-0 PNC BANK                          04/18/2023       2024130       $839.56     $0.00      $839.56 04/28/2023


520-0 PNC BANK                          03/15/2023       2023101       $839.56     $0.00      $839.56 03/27/2023


520-0 PNC BANK                          02/15/2023       2022100       $839.56     $0.00      $839.56 02/28/2023


520-0 PNC BANK                          01/18/2023       2021096       $839.56     $0.00      $839.56 02/02/2023


520-0 PNC BANK                          12/13/2022       2020102       $839.56     $0.00      $839.56 12/20/2022


520-0 PNC BANK                          11/16/2022       2019147       $839.56     $0.00      $839.56 12/07/2022


520-0 PNC BANK                          10/18/2022       2018115       $885.60     $0.00     $885.60 10/25/2022


520-0 PNC BANK                          09/13/2022       2017044       $885.59     $0.00      $885.59 09/20/2022


520-0 PNC BANK                          08/17/2022       2016041       $885.60     $0.00     $885.60 08/24/2022


520-0 PNC BANK                          07/13/2022       2014968       $824.22     $0.00      $824.22 07/20/2022


520-0 PNC BANK                          06/14/2022       2014000       $824.21     $0.00      $824.21 06/21/2022


520-0 PNC BANK                          05/17/2022       2012969       $489.72     $0.00      $489.72 05/24/2022


                                                      Sub-totals: $25,865.29       $0.00 $25,865.29

                                                     Grand Total: $25,865.29       $0.00




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